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                                          U nited States D istrict C ourt
                                                      Southern D istrictofFlorida
                                                           FT.LAUDERDALE DIVISION

 UNITED STATES OF AM ERICA                                             JUDGM ENT IN A CRIM INAL CASE

                                                                       Case Num ber-0:16-60238-CR-COH N.1

 JO NA THAN LEE EUBANK S
                                                                       USM N um ber:14320-104

                                                                       CounselForDefendant:DarylW ilcox,AFPD
                                                                       CounselForTheUnitedStates:Jared Strauss
                                                                       CourtReporter:KarlShires



 Thedefendantwasfound guiltyon Counts 1,2,3,4,5oftheSuperseding Indictment.
 Thedefendantisadjudicatedguiltyofthefollowingoffensets):

        TITLE/SEC TIO N                              N ATU RE O F
           NU M BER                                   O FFEN SE             O FFEN SE END ED                     CO UNT

   l8U.S.C.j1030(a)(5)(A)                 lntentionally cause damage              1/27/2013
                                          w ithoutauthorizationto a
                                          protectedcomputer
   18U.S.C.jl029(a)(2)                    U seofunauthorized access               2/26/2013
                                          devices

   18U.S.C.j1028A(a)(l)                   Aggravated identitytheft                2/17/2013

   18U.S.C.j1028A(a)(1)                   Aggravated identitytheft                2/l8/2013

   18U.S.C.j1028A(a)(l)                   Aggravated identitytheft                2/25/2013

 Thedefendantissentenced asprovidedinthefollowing pagesofthisjudgment. Thesentence isimposedpursuanttothe
 Sentencing Reform Actof1984.

 Itisordered thatthe defendantmustnotifythe United Statesattorney forthisdistrictwithin 30 daysofany changeofname,
 residence,ormailingaddressuntilallfines,restitution,costsandspecialassessmentsimposedbythisjudgmentarefullypaid.
 Iforderedtopayrestimtion,thedefendantmustnotifythecourtandUnitedStatesattorney ofanymaterialchangesineconomic
 circumstances.

                                                                                Dateoflmpo '1on ofSentence:
                                                                                6/30/2017




                                                                                JA M E 1.COI4N
                                                                                United StatesDistrictJudge

                                                                                    e30,2017
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 D EFENDAN T:JONA THAN LEE EUBANK S
 CASENUMBER:0:l6-60238-CR-C0l4N-1

                                                      IM PR ISO N M EN T
         Thedefendantishereby conunitted to thecustody ofthe United StatesBureauofPrisonstobeimprisoned foratenn
 of 60 M O NTH S AS TO C O UNTS 1AN D 2 TO RUN CO NC URR ENTLY W ITH EACH O TH ER

     24 M O NTH S AS TO CO UNT 3 TO RUN CO N SECUTIVE TO CO UNTS 1AND 2

    Z4M O NTH SAS TO CO UNTS 4AN D STO R UN CO NC URRENTLY W ITH EA CH O TH ER A ND CO NCURR ENT
    W ITH COUNT3

    TOTAL SENTENCE 84 M ONTHS

 TheCourtm akesthefollowingrecornm endationsto theBureauofPrisons:

 THE COURT RECOM M END S THAT TH E D EFEN DANT BE DESIGN ATED TO A FA CILITY IN THE SOU THERN
 DISTRICT O F FLORIDA .

 The defendantisremanded to the custody ofthe United StatesM arshal.




                                                          RETU R N

 lhaveexecutedthisjudgmentasfollows:




 Defendantdelivered on                                  to

 at                                                             ,withacertifiedcopyofthisjudgment.


                                                                                 UNITED STATES M ARSHAL


                                                                           By:
                                                                                    Deputy U .S.M arshal
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 DEFEN DAN T:JON ATHAN LEE EUBANK S
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                                                     SU PERV ISE D R ELEA SE

 Uponreleasefrom imprisomnent,thedefendantshallbeonsupervisedreleaseforaterm of3 YEARS ASTO COUNTS1AND
 2TO RUN CO NCU RRENTLY W ITH EA CH O TH ER .

 IYEAR ASTO COUNTSA 4AND STO RUN CONCURRENTLY W ITH EACH OTHER AND CONCURRENTW ITH
 CO UNTS IAND Z

 Thedefendantmustreporttotheprobationofticeinthedistricttowhichthedefendantisreleasedwithin72hoursofreleasefrom
 thecustody oftheBureauofPrisons.

 Thedefendantshallnotcom m itanotherfederal,stateorlocalcrim e.

 The defendantshallnotunlawfully possessa controlled substance. The defendantshallrefrain from any unlawfuluseofa
 controlled substance.Thedefendantshallsubmittoonedrugtestwithin 15daysofreleasefrom imprisonmentand atleasttwo
 periodicdrugteststhereaûer,asdeterminedbythecourt.

            Thedefendantshallnotpossessafirearm ,am m unition,destructivedevice,orany otherdangerousw eapon.

            Thedefendantshallcooperateinthe collection ofDNA asdirected by theprobation officer.


        lfthisjudgmentimposesafineorarestitution,itisaconditionofsupervisedreleasethatthedefendantpayinaccordance
 withtheScheduleofPaymentssheetofthisjudgment.
          Thedefendantmustcomplywiththestandardconditionsthathavebeen adoptedbythiscourtaswellasanyadditional
 conditionson theattachedpage.

                                        STANDARD CONDITIONS OF SUPERVISION

            thedefendantshallnotleavethejudicialdistrid withoutthepermissionofthecourtorprobationofticer;
            thedefendantshallreporttotheprobationofticerandshallsubmitatruthfulandcompletewrittenreportwithinthefirstfiûeendaysefeach
            month;
            thedefendantshallanswertruthfully allinquiriesbytheprobation ofticerandfollow theinstructionsoftheprobationofficer;
            thedefendantshallsupporthisorherdependentsand meetotherfamilyresponsibilities;
            thedefendantshallworkregularlyataIawfuloccupationsunlessexcusedbytheprobationofficerforschooling,training,orotheracceptable
            reasons;
            thedefendantshallnotifytheprobationofficeratleastten(10)dayspriortoanychangeinresidenceoremployment;
            thedefendantshallrefrain from theexcessiveuseofalcoholand shallnotpurchase,possess,use,distribute,oradministeranycontrolled
            substanceoranyparaphernaliarelated toany controlled substances.exceptasprescribedbyaphysician;
 8.         thedefendantshallnotfrequentplaceswherecontrolled substancesareillegallysold,used,distributed,oradministered;
 9.         thedefendantshallnotassociatewithanypersonsengagedincriminalactivityandshallnotassociatewithanypersonconvictedofafelony,
            unlessFantedpermissionto do soby theprobationofficer;
 l0.        the defendantshallpermitaprobation ofticertovisithim orheratanytimeathome orelsewhereand shallpennitcontiscation ofany
            contraband observed inplain view by theprobationoffiçer;
            thedefendantshallnotifytheprobationofficerwithinseventy-two(72)hoursofbeingarrestedorquestionedbyalaw enforcementofticer;
            thedefendantshallnotenterintoanyagreementtoactasaninfonneroraspecialagentofalaw enforcementagencywithoutthepennission
            ofthecourt;and
            asdirectedbytheprobationofticer,thedefendantshallnotifythirdpartiesofrisksthatmaybeoccasionedbythedefendant'scriminalrecord
            orpersonalhistory orcharacteristicsand shallpermitthe probation officerto make such notificationsand to confirm thedefendant's
            compliancewith suchnotitication requirement.
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 --... .        T.(q



 DEFENDANT:JONATHAN LEE EUBANKS
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                                          SPEC IAL C O N D ITIO N S O F SUPE RV ISIO N

            Thedefendantshallalsocomply withthefollowingadditionalconditionsofsupervisedrelease:

 FinancialDisclosureRequirement-Thedefendantshallprovidecompleteaccesstofinancialinformation,includingdiscloslzre
 ofallbusinessand personalfinances,to theU.S.ProbationOfficer.

 M entalHealthTreatment-Thedefendantshallparticipateinanapprovedinpatient/outpatientmentalhealthtreatmentprogram.
 Thedefendantwillcontributetothecostsofservicesrendered(co-payment)basedonabilitytopayoravailabilityofthirdparty
 Paym ent.
 Permissible Computer Examination - The defendant shall submitto the U.S.Probation Officer conducting periodic
 unannouncedexaminationsofthedefendant'scomputerts)equipmentwhichmayincluderetrievalandcopyingofal1datafrom
 thecomputerts)and any internalorexternalperipheralsto ensure compliancewith thiscondition and/orremovalofsuch
 equipmentforthepurposeofconductingamorethoroughinspection;andtohaveinstalledonthedefendant'scomputerts),atthe
 defendant'sexpense,anyhardwareorsoftwaresystemstomonitorthedefendant'scomputeruse.

 PermissibleSearch-Thedefendantshallsubmitto asearchofhisperson orpropertyconducted in areasonablemannerand at
 areasonabletimebytheU.S.Probation Officer.

 Related Concern Restriction-Thedefendantshallnotown,operate,actasaconsultant,beemployedin,orparticipatein any
 manner,inanybusinessrelatedtoinformationtechnology(IT),publicorprivatesecuritywork,ortaxpreparationduringthe
 periodofsupervision.

 Self-EmploymentRestriction-Thedefendantshallobtainpriorwritten approvalfrom theCourtbeforeentering intoany self-
 em ployment.

 Unpaid Restitution,Fines,orSpecialAssessments-lfthe defendanthasany unpaid amountofrestitution,fines,orspecial
 assessments,thedefendantshallnotifytheprobation officerofanymaterialchange inthedefendant'seconomiccirclzmstances
 thatmightaffectthedefendant'sabilityto pay.
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 DEFENDANT:JONATHAN LEE EUBANKS
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                                               CR IM IN A L M O NETA R Y PEN ALT IES


        The defendantmustpay the totalcriminalmonetary penaltiesunderthe schedule ofpayments on the Schedule of
 Paymentssheet.

               TotalA ssessm ent                             TotalFine                             TotalRestitution

                      $500.00                                                                          $1,100.98



 Restim tion with Im prisonment-
 ltisfurtherordered thatthedefendantshallpay restitution in theamountof$1,100.98. During theperiod ofincarceration,
 paymentshallbemadeasfollows:(1)ifthedefendantearnswagesin aFederalPrison IndustriesIUNICORIjob,then the
 defendantmustpay50% ofwagesearnedtowardthefinancialobligationsimposedbythisJudgmentinaCriminalCase;(2)if
 thedefendantdoesnotworkinaUNlcoRjob,thenthedefendantmustpayaminimum of$25.00perquartertowardthetinancial
 obligationsimposed inthisorder.
 Uponreleaseofincarceration,thcdefendantshallpayrestitutionattherateof10% ofmonthlygrossearnings,untilsuchtimeas
 thecourtmayalterthatpaymentscheduleintheinterestsofjustice.TheU.S.BureauofPrisons,U.S.ProbationOfficeandU.S.
 Attorney'sOfficeshallmonitorthepaymentofrestitutionandreportto thecourtanymaterialchangeinthedefendant'sability
 to pay. Thesepaymentsdo notprecludethe governmentfrom using otherassetsorincome ofthe defendantto satisfy the
 restimtion obligations.
 #FindingsforthetotalamountoflossesarerequiredunderChapters109A,110,110A,and 1l3A ofTitlel8,UnitedStatesCode,foroffensescommittedon
 oratterSeptemberl3,1994,butbeforeApril23,1996.
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 DEFENDANT:JONATHAN LEE EUBANKS
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                                                     SC H ED UL E O F PAY M EN T S

 Havingassessedthedefendant'sabilityto pay,paymentofthetotalcriminalmonetary penaltiesaredueasfollows:

            A.Lump sum paymentof$500.00 dueimmediately,balancedue


 Unlessthecourthasexpresslyorderedotherwise,ifthisjudgmentimposesimprisonment,paymentofcriminalmonetarypenalties
 isdueduringimprisonment.Al1criminalmonetarypenalties,exceptthosepaymentsmadethroughtheFederalBureauofPrisons'
 InmateFinancialResponsibilityProgram,aremadeto theclerkofthecourt.

 Thedefendantshallreceivecreditforallpaymentspreviouslymadetoward anycriminalmonetarypenaltiesimposed.

 Theassessment/fine/restitution ispayabletotheCLERK,UNITED STATES COURTS and isto beaddressed to:

            U.S.CLERK'SOFFICE
            ATTN:FINANC IA L SECTIO N
            400 NO RTH M IA M IAVENUE,RO O M 8N09
            M IAM I,FLORIDA 33128-7716

 Theassessm ent/fine/restitution ispayableim m ediately. TheU.S.Bureau ofPrisons,U .S.Probation O fficeand theU.S.
 Attorney'sO fficeareresponsiblefortheenforcem entofthisorder.



            Thedefendantshallforfeitthedefendant'sinterestin thefollowing propeo to theUnited States:

         A.ONE (1)CORSAIR COMPUTER TOW ER
         B.ONE (1)ACER DESKTOP COM PUTER M ODEL:ASPIRE X1200,SERIAL# 111'
                                                                        5A1:0X006833063C93030
         C.ONE (1)DELL LAPTOPCOM PUTER MODEL:PP28L SERIAL#CN-0D500F-70166-8A4-0FQR
          Thedefendant'sright,titleand interesttotheproperty identified in thepreliminaryorderofforfeiture,whichhasbeen
 entered bytheCourtand isincomoratedbyreferenceherein,ishereby forfeited.

   Paymentsshallbeapplied in the followingorder:(1)assessment,(2)restitutionprincipal,(3)restitutioninterest,(4)tine
 principal,(5)tineinterest,(6)cornmunityrestitution,(7)penalties,and(8)costs,includingcostofprosecutionandcourtcosts.
